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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                              Involuntary Chapter 11

        1934 Bedford, LLC,                                         Case no. 19-44751

                                    Debtor.
--------------------------------------------------------x

                                          NOTICE OF HEARING

                 PLEASE TAKE NOTICE, a hearing will be held on September 11, 2019 at 2:00
p.m. (the “Hearing”) before the Honorable Carla E Craig, at the United States Bankruptcy Court,
271 Cadman Plaza East, Brooklyn, New York to consider the annexed application
(“Application”) of 1930 Bedford Avenue LLC for the entry of an order under 11 U.S.C. 543(d)
excusing Gregory La Spina, as Supreme Court appointed receiver (the “Receiver”) from
compliance with 11 U.S.C. 543(a), and authorizing the Receiver to take possession of the
Debtor’s real property at 1930-1934 Bedford Avenue, Brooklyn New York and to exercise his
duties under the Receiver appointment order entered by the Supreme Court of Kings County on
June 11, 2019.

                 PLEASE TAKE FURTHER NOTICE, that objections, if any, must be in writing,
served upon the undersigned, and filed with the Clerk of the Bankruptcy Court, with a courtesy
copy to the Honorable Carla E Craig’s chambers, so as to be received at least seven (7) days
before the Hearing date.

Dated: New York, New York
       August 23, 2019
                                                            BACKENROTH FRANKEL & KRINSKY,
                                                            LLP

                                                     By:    s/ Mark Frankel
                                                            800 Third Avenue
                                                            New York, New York 10022
                                                            (212) 593-1100
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                              Involuntary Chapter 11

        1934 Bedford, LLC,                                         Case no. 19-44751

                                    Debtor.
--------------------------------------------------------x

                           MOTION TO LIFT THE AUTOMATIC STAY

                 1930 Bedford Avenue LLC (“Mortgagee”), the holder of first mortgages on the

property owned by 1934 Bedford, LLC (the “Debtor”) at 1930-1934 Bedford Avenue, Brooklyn,

New York (the “Property”), as and for its motion for the entry of an order under 11 U.S.C.

543(d) excusing Gregory La Spina, as Supreme Court appointed receiver (the “Receiver”) from

compliance with 11 U.S.C. 543(a), and authorizing the Receiver to take possession of the

Debtor’s real property at 1930-1934 Bedford Avenue, Brooklyn New York and to exercise his

duties under the Receiver appointment order entered by the Supreme Court of Kings County on

June 11, 2019, respectfully represents as follows:

    (a) This case has earmarks of a sham involuntary petition filed to obstruct the
        Mortgagee’s foreclosure action and to obtain control over the Property’s $200,000
        of monthly rental income with no obligation to pay debt service, no accountability,
        and none of the burdens of a Chapter 11 debtor in possession, and

    (b) The Supreme Court and the Appellate Division have repeatedly denied the Debtor’s
        attempts to vacate the Receiver Order; this Court should not reward the Debtor’s
        attempt to collaterally attack that Order by abusing the Bankruptcy Code.
                                               BACKGROUND

                 1.       On August 2, 2019, an involuntary petition was filed against the Debtor

under section 303 of the Title 11 of the United States Code, 11 U.S.C. “101 et seq. (the

“Bankruptcy Code”) by Simply Brooklyn Realty asserting an $18,000 claim, HTC Construction
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Management, Inc. asserting a $100,000 claim, and HTC Plumbing, Inc. asserting a $25,000

claim (the “Petitioners”).

               2.      The Debtor owns the real property located at 1930-1934 Bedford Avenue,

Brooklyn, New York (the “Property”) pictured below:




               3.      The Property is a seven-story and cellar, elevator, mixed use rental

building containing community facilities in the cellar, first and second floors, thirty-eight (38)

apartments on the upper floors, and a 19-car parking garage. The gross building area is 59,212




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square feet and the net rentable area is 50,187 square feet. When fully leased, the rent roll

indicates aggregate rents of $2,436,744 per year, or more than $200,000 per month.

               4.      According to an appraisal the Debtor submitted on June 23, 2019 in the

foreclosure action, the Property value is $38,600,000.

               5.      The Mortgagee holds first mortgages in the principal amount of

$15,000,000. As set forth in Mortgagee’s August 31, 2019 payoff letter (Exhibit A), the total

amount due as of August 31, 2019 is $18,689,275. Per diem 24% interest accrues at $10,000 per

day. Copies of the loan documents and assignment documents (“Loan Documents”) are

collectively annexed hereto as Exhibit B. The Mortgagee’s June 3, 2019 foreclosure complaint

(“Foreclosure Complaint”), a copy of which is annexed hereto as Exhibit C, identified additional

secured claims of record against the Property totaling about $1,686,812. Secured claims thus

total approximately $20,377,000. The Debtor has not disclosed the existence of unsecured

claims above the $143,000 asserted by the petitioners.

               6.      In summary, until the Debtor discloses its assets and liabilities and income

and expenses, the claims against the Debtor appear to total about $20,500,000. Based on the

Debtor’s $38,600,000 appraisal, the Debtor appears to have about $18,000,000 of equity in the

Property above creditor claims, and monthly income of about $200,000.

               7.      The Debtor stopped defaulted on the February 2019 note payment and the

Mortgagee’s loan matured by its terms on February 28, 2019. There has been no accounting for

the $200,000 per month of Property income (i.e. $1,400,000) since the Debtor stopped paying in

January. On June 3, 2019 the Mortgagee filed the Foreclosure Complaint based on the February

payment defaults, an unauthorized $1,500,000 subordinate mortgage dated August 29, 2018 and

the existence of mechanics liens.
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               8.      By order dated June 11, 2019 (the “Receiver Order,” Exhibit D), the

Supreme Court appointed the Receiver to take possession of the Property and the rental income.

               9.      On June 23, 2019, the Debtor requested an emergency order to show cause

for injunctive relief vacating the Receiver Order pending determination of the Debtor’s motion to

vacate.

               10.     The Supreme Court denied the application for injunctive relief and set the

matter down for a hearing on the merits. The Debtor appealed both the Receiver Order and the

denial of injunctive relief. On June 27, 2019, the Appellate Division affirmed the Receiver

Order (Exhibit E). On July 10, 2019, the Supreme Court denied the Debtor’s order to show

cause on the merits.

               11.     Meanwhile, on June 17, 2019 the Debtor sued the Mortgagee in a special

proceeding under RPL § 274-to compel the Mortgagee to retract is prior payoff letter and replace

it with a payoff letter that did not include default interest and other charges. The Debtor falsely

argued that it had received oral default waivers, despite the loan documents prohibition on oral

waivers to preclude such self-serving arguments. The Debtor falsely argued further that the

Mortgagee failed to give default notices, despite there being no obligation in the loan documents

to give notice of unauthorized subordinate liens.

               12.     RPL § 274-a is limited to compelling delivery of a payoff letter. It can’t

be used to dispute the amounts asserted in a payoff letter. The Supreme Court advised the

Debtor that the relief it was seeking went beyond the statute and that the Debtor must dispute the

Mortgagee’s payoff letter in the foreclosure action. Since then, the Debtor has done nothing in

the foreclosure action to raise any such dispute. Instead, the Debtor retained additional


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foreclosure counsel who specializes in Kings County politics. There is no pending objection to

the Mortgagee’s claim in any court.

                13.     On August 2, 2019, the Receiver filed his bond. The same day, the

Petitioners filed this case.

    (a) This case has earmarks of a sham involuntary petition filed to obstruct the
        Mortgagee’s foreclosure action and to obtain control over the Property’s $200,000
        of monthly rental income with no obligation to pay debt service, no accountability,
        and none of the burdens of a Chapter 11 debtor in possession


                14.     As explained by Collier on Bankruptcy, the rule is that it is improper to

file a collusive involuntary petition to stall a foreclosure action. 2 Collier on Bankruptcy para

303.06 and 303.33. Collier notes further that the bankruptcy courts in In re Stern 268 B.R. 390

(Bankr. S.D.N.Y. 2001) and In re Grossinger, 268 B.R. 386, 387 (Bankr. S.D.N.Y. 2001) have

given notice that such collusive involuntary petitions do not go unpunished. In Grossinger, the

Court observed that “[w]ithin the past year or so courts in the Southern and Eastern Districts

have experienced a number of patently baseless and improper involuntary filings.” And the

Court in Stern stated that: “Sanctions are assessed, and the decision here and in In re Grossinger

are published, to give notice to the bar and future petitioning creditors that sham involuntary

petitions may not be filed in this court without consequences.” Stern at 268 B.R. at 395, as cited

in 2 Collier at para 303.33, notes 3 and 6.

                15.     Here, the timing of the involuntary was no coincidence. It was filed the

day the Receiver filed his bond and was qualified to take possession of the Property and its rental

income. Having exhausted its State Court options, the only way left to obstruct the Receiver was

a bankruptcy filing. For undisclosed reasons, the Debtor was unwilling to file a voluntary


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petition. The Debtor undoubtedly prevailed upon the Petitioners to file the involuntary Petition

to achieve the same result.

                16.    Absent collusion, it is unlikely that vendors with (alleged) claims totaling

only $143,000 would track their customer’s foreclosure action so closely that they would know

that a receiver had been appointed, let alone when the receiver would file his bond. And have

bankruptcy counsel lined up that day to file an involuntary petition.

                17.    Were they following the foreclosure so closely, and their goal was to

avoid non-payment, Petitioners would have known that the Debtor appears to have $18,000,000

of equity in the Property and $200,000 of monthly income.

                18.    Objectively, the Receiver’s appointment did not put them at greater risk of

nonpayment than a Chapter 11 filing. Either way, the Debtor had sufficient resources to pay

Petitioners’ claims, and either way Petitioners were unlikely to be paid until the Property was

sold or refinanced.

                19.    An involuntary petition would not, therefore, benefit the Petitioners. But a

legitimate non-collusive involuntary petition would put the Petitioners at serious risk under

section 303(i) of the Bankruptcy Code for damages and legal fees if the Debtor successfully

dismissed the involuntary petition. With $38,000,000 of Property value and $200,000 of

monthly income affected by an involuntary filing, such legal fees and damages could easily

exceed Petitioners’ (alleged) claims. Petitioners retained experienced counsel who would not

have exposed Petitioners to such serious risk for no serious benefit, absent the Debtor’s support

for the Petition.




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                  20.   The conclusion that Debtor thus orchestrated a sham involuntary petition

is inescapable.

                  21.   The Debtor’s post-filing conduct confirms the likelihood that this is a

collusive filing. The Debtor has neither answered the involuntary petition nor consented to

Chapter 11 relief. Instead, the Debtor is flaunting its control over the $200,000 of monthly

income while paying no debt service, providing no accounting, and answering to no one.

                  22.   For example, when the Mortgagee inquired as to the Debtor’s intentions

regarding the involuntary Petition, the Property and the rental income, the Debtor’s counsel told

the Mortgagee it would consent to payment of debt service, a cash collateral stipulation and entry

of an order of relief only if the Mortgagee consented to bankruptcy stay relief solely to permit

determination of the Mortgagee’s claim in the foreclosure action. This, despite the fact that (a)

there is no pending motion in the foreclosure action disputing those amounts, and (b) claims

objections are subject to the Bankruptcy Court’s core jurisdiction.

                  23.   The Mortgagee is prepared to litigate in either the Supreme Court or this

Court. But the Mortgagee will not agree to proceed in both forums with the Debtor dictating

which judge hears which issues.

                  24.   The Debtor can’t have its cake and eat it too. The Debtor should not be

permitted to exploit a sham involuntary bankruptcy to delay this case while enjoying the benefits

of bankruptcy with none of the burdens. With no controls over the $200,000 of monthly cash

collateral and with interest running at $10,000 per day, the damage to the Debtor’s estate accrues

daily.




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                                RELIEF REQUESTED HEREIN

(b)      The Supreme Court and the Appellate Division have repeatedly denied the Debtor’s
         attempts to vacate the Receiver Order; this Court should not reward the Debtor’s
         attempt to collaterally attack that Order by abusing the Bankruptcy Code.


               25.     As security for the payment of the Mortgagee’s notes, the Debtor executed

the Loan Documents, which include assignments of leases and rents. The mortgages provide

that, in the event of a default, the Mortgagee: "shall be entitled, as a matter of right and without

regard to the adequacy of any security for the indebtedness secured hereby ( and without notice

in any action to foreclose this Mortgage and in such other actions or circumstances as may be

permitted by law), to the appointment of a receiver for the Mortgaged Property." See, Exhibit B,

April 22, 2018 Land Loan Mortgage at § 17(f), and April 22, 2018 Building Loan Mortgage at §

17(f).

               26.     Under the Loan Documents and N.Y. Real Property Law§ 254, the

Supreme Court properly entered the Receiver Order, and the Appellate Division properly denied

the Debtor’s demand that it vacate that order. See, e.g., Naar v. LJ. Litwak & Co., Inc., 260

A.D.2d 613 (2d Dep't 1999); Essex v. Newman, 220 A.D.2d 639 (2d Dep't 1995); Bank Leumi

Trust Co. of New York v. Lightning Park, Inc., 149 A.D.2d 692 (1st Dep't 1995); 366 Fourth

Street Corp. v. Foxfire Enterprises, Inc., 540 N.Y.S.2d 489 (2d Dep't 1989).

               27.     Whether or not an order has been entered appointing a receiver before a

bankruptcy is filed, once a debtor files a voluntary bankruptcy petition, a mortgagee’s security

interest in rental income is protected by sections 363 and 552 of the Bankruptcy Code. Under

section 363(c)(2), a voluntary debtor may not use the rents, i.e. cash collateral, absent the

mortgagee’s consent or a bankruptcy court order.

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                  28.      In an involuntary bankruptcy the rules are different. Pending an order for

relief, the cash collateral rules do not apply. Section 303(f) of the Bankruptcy Code states that

an involuntary debtor is not subject to section 363 and its limitations on the use of cash

collateral, “except to the extent that the court orders otherwise.”

                  29.      Coupled with section 543(a) of the Bankruptcy Code, which requires a

receiver to surrender control of a debtor’s property upon the filing of any bankruptcy petition –

voluntary or involuntary – a mortgagee loses all protection for its cash collateral upon the filing

of an involuntary petition.

                  30.      Even though the Debtor desperately wants to avoid the Receiver taking

possession of the Property, the Debtor is exploiting this loophole to avoid filing its own

voluntary petition or consenting to Chapter 11 relief. Instead, the Debtor appears to have

orchestrated a sham involuntary petition to exercise unfettered use of the $200,000 of monthly

rental income and to pressure the Mortgagee into permitting the Debtor to forum shop.

                  31.      The best way to stop such misconduct is to grant the Mortgagee relief

under section 543(d) of the Bankruptcy Code excusing the Receiver from compliance with his

obligation to surrender his right to control the Property.1




1
  Alternatively, the Bankruptcy Court may find that the Receiver has the right to take possession notwithstanding the
Petition, following the finding of the District Court for the Eastern District of New York in French Bourekas Inc. v.
Turner, 199 B.R. 807, 815 (E.D.N.Y. 1996), that the filing of a Chapter 11 petition does not discontinue a
receivership. As stated in French Bourekas:

         [S]ection 959 of 28 U.S.C. provides:

            Except as provided in section 1166 of title 11,18 a trustee, receiver or manager appointed in any
         cause pending in any court of the United States, including a debtor in possession, shall manage
         and operate the property in his possession as such trustee, receiver or manager according to the
         requirements of the valid laws of the State in which such property is situated, in the same manner
         that the owner or possessor thereof would be bound to do if in possession thereof.
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               32.      Even if this were a legitimate involuntary filing, if the Debtor intended to

dispute the involuntary petition, the Debtor would have no objection to the Receiver taking

possession because that will be the result if the Petition is dismissed.

               33.      If this were a legitimate involuntary filing, and the Debtor intended to

consent to the involuntary petition, the Debtor would have consented to order of relief already, as

the only way to improve its chances of avoiding the Receivership under section 543(a) of the

Bankruptcy Code.

               34.      In summary, this case presents itself under a cloud of Debtor misconduct

both pre-petition and post-petition. To protect the Property and its rental income pending the

outcome of this case, the Property should be controlled by a fiduciary with clean hands.

               35.      With a $38,000,000 Property and $200,000 of monthly rental income

hanging in the balance, this Court should follow the lead of the Supreme Court and the Appellate

Division, as well as the logic of Stern and Grossinger, and permit the Receiver to take possession

under section 543(d) of the Code to block the Debtor’s bad faith attempt to collaterally attack the

Receiver Order through a sham involuntary petition.

               36.      If the Court is nonetheless unprepared to permit the Receiver to take

possession, the Court should at least require the Debtor to comply with section 363(f) of the

Bankruptcy Code and terminate the Debtor’s use of the $200,000 of monthly cash collateral

absent the Mortgagee’s consent or an order of this Court.




       The New York State Supreme Court is certainly a “court of the United States.” Moreover, “the
       provisions of 28 U.S.C. § 959(b) have always been applicable in bankruptcy matters.” 1 Colliers
       on Bankruptcy ¶ 3.04 at 3–205 (1993).

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               37.     Again, this case has all the earmarks of a collusive involuntary petition

likely filed with the bad faith intention of creating the illusion of a contested matter to avoid the

obligations imposed on a voluntary debtor and to improperly pressure the Mortgagee. That alone

is good cause to terminate the Debtor’s use of cash collateral.

                                           CONCLUSION

               WHEREFORE, the Mortgagee respectfully requests that the Court enter an order

granting the relief requested herein, and that the Court grant such other relief as may be just and

proper.

Dated:         New York, New York
               August 23, 2019

                                               BACKENROTH FRANKEL & KRINSKY, LLP
                                               Attorneys for the Mortgagee

                                               By:     s/Mark A. Frankel
                                                       800 Third Avenue
                                                       New York, New York 10022
                                                       (212) 593-1100




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                                         VERIFICATION

               Under penalty of perjury, the undersigned hereby verifies and certifies that he is

an authorized signatory of 1930 Bedford Avenue LLC and is authorized to make this

verification, that he has read the annexed pleading, and that he believes the facts stated therein to

be true, to the best of his knowledge and belief.



Dated: New York, New York
       August 23, 2019

                                                      s/Ralph A Dweck_
                                                      Ralph A Dweck
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                         Exhibit A
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                                  1930 BEDFORD AVE LLC
                                   c/o Andriola Law, PLLC
                                  1385 Broadway, 22nd Floor
                                     New York, NY 10018
                                         646-209-9863
                                   james@andriolalaw.com


                                                                           August 23, 2019



Borrower: 1934 Bedford LLC
Original Lender: S III Capital Group LLC
Aggregate Principal Amount of Loans: $15,000,000.00
Property: 1930 and 1934 Bedford Avenue, Brooklyn, New York
Loan Type: Commercial

Dear Sir/Madam,

The amount needed to pay off the above-referenced loan in full as of August 31, 2019 is
$18,689,274.51, allocated as follows:

 Principal:                                         $15,000,000.00
 Interest:                                           $3,390,312.51
 Late Fees                                              $23,962.00
 Yield Maintenance Premiums:                           $250,000.00
 Legal fees:                                            $25,000.00


After August 31, 2019, add per diem of $10,000.00 in interest to the above amount. Also, all legal
fees incurred after today’s date will be added to the total payoff amount.

Finally, the above-referenced loan is in default and Lender reserves all rights at law and equity,
and nothing herein shall be deemed a waiver of any such rights and remedies.


Sincerely,

1930 BEDFORD AVE LLC
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                         Exhibit B
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                         Exhibit C
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                         Exhibit D
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                         Exhibit E
             Case 1-19-44751-cec                                   Doc 8            Filed 08/23/19                        Entered 08/23/19 14:30:01




                                                                                                                                                 JACOBOWITZ
                                                                                                                              NEWMAN                       TVERS          KY




                                                                                         July        3, 2019


VIA         ECF     AND          E-MAIL

Hon.        David      B.      Vaughan
Kings        Supreme            Court
360      Adams         Street

Brooklyn,           NY        11201


              Re:             1930       Bedford           Ave      LLC        v.   1934            Bedford          LLC          et al,        Index      No.      51224/2019




Dear        Judge      Vaughan:


              Our           office       represents                defendants                 1934          Bedford               LLC            and       Nikol          Vonlavrinoff

("Defendants")                 in the      above-referenced                   action.          Enclosed             please        find      courtesy         copies       oftwo         orders

issued     by       the        Appellate            Division           on      June           27,      2019.           The         first        order,       2019-0261,             granted
Defendants'
                        CPLR            5704(a)          application          seeking           the       interim        relief          that    the     court      declined       to    grant
                                                                                                                                                                           Defendants'
in    the   order      to     show       cause      on     June      24,    2019.         The         second         order,        2019-07263,                   denied

CPLR         5704(a)          application           seeking         to vacate           the     court's        June       11,      2019         order      appointing          a receiver.



                                                                                                          Respectfully               Submitted,




                                                                                                          Nathan         Cohen


Enclosures


copies:       James          Andriola,        Esq.        (via     ECF      and     E-mail)

              Gregory           Laspina,          Esq.      (via    E-mail)




377     PEARSALL            AVENUE,         SUIIE        C, CEDARHURST,                   NEW YORK                  l 1516        | P: 212        221.9610            F: 646      75I.1506
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                           Case 1-19-44751-cec                             Doc 8              Filed 08/23/19                   Entered 08/23/19 14:30:01




              1930      Bedford         Ave      LLC       v 1934        Bedford          LLC,
              Kings        County         Supreme          Court       Index       No.:      512224/2019



    Supreme           Court        of   the      State       of    New     York

Appellate      Division:           Second         Judicial          Department




              2019-07263




                            BEFORE:              REINALDO                 RIVERA,             J.P.,     CHERYL            E. CHAMBERS,                    ROBERT            J. MILLER,
                                                  SYLVIA            HINDS-RADIX,                      JJ.




                            Application            by     defendants              1934     Bedford          LLC     and      Nikol       Vonlavrinoff          pursuant         to   CPLR

              5704(a)         to   vacate        an order          appointing            a receiver         in   a mortgage           foreclosure         action,       dated   June     11,
              2019,      executed           by   the      Supreme         Court,         Kings        County.



                            ORDERED                that      the    application           is DENIED.



              Dated:                      Brooklyn,           New        York

                                          June      27,    2019




                                                                                                                  FOR     THE         COURT:




                                                                                                                  Hon.       Sylvia        O.    Hinds-Radix

                                                                                                                             Associate              Justice

                                                                                                                 Appellate            Division           2nd        Dept.
                       Case 1-19-44751-cec                                   Doc 8           Filed 08/23/19                        Entered 08/23/19 14:30:01




            1930      Bedford         Ave      LLC        v 1934        Bedford           LLC,
            Kings      County           Supreme            Court       Index       No.:      512224/2019




    Supreme           Court      of     the       State       of    New        York

Appe!!ate     Division:          Second            Judicial          Department



            2019-07261




                         BEFORE:               REINALDO                  RIVERA,             J.P.,        CHERYL            E. CHAMBERS,                      ROBERT          J. MILLER,
                                               SYLVIA              HINDS-RADIX,                      JJ.




                         Application              by      defendants             1934      Bedford           LLC      and        Nikol       Vonlavrinoff          pursuant      to   CPLR

            5704(a)       to    grant       the     interim         relief       requested           in    the   foregoing           order      to   show       cause   dated     June     24,

            2019,      which      the       Supreme           Court,         Kings        County,          declined         to    grant.



                         ORDERED                  that     the     application            is GRANTED.



            Dated:                      Brooklyn,             New       York

                                        June       27,     2019




                                                                                                                  FOR        THE         COURT:




                                                                                                                   Hon.
                                                                                                                                  Sylvia        0.
                                                                                                                                                         Hinds-Radix

                                                                                                                 Agey                e Di
                                                                                                                                                 ision
